Case 5:09-cr-20414-JCO-MKM ECF No. 181, PageID.1083 Filed 01/25/12 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
                                                      Case No. 09-20414
v.

                                                      Hon. John Corbett O’Meara
JAMES WIESE, ILIR DOKAJ, and
TOM GJOKAJ,

      Defendants.
_________________________________/



                               ORDER DENYING MOTIONS
                             FOR JUDGMENT OF ACQUITTAL

       Before the court are Defendants’ motions for acquittal, to which the government has

responded. All three Defendants were charged in Count 1 with conspiracy to commit federal

crimes (bank fraud, wire fraud, and money laundering); in Count 2 with bank fraud, aiding and

abetting; and in Counts 3 through 9 with wire fraud, aiding and abetting. James Wiese was

charged in Count 10 with money laundering. After a trial, the jury reached a partial verdict on

June 22, 2011. The jury found Tom Gjokaj guilty of bank fraud, aiding and abetting (Count 2),

acquitted all three defendants on the wire fraud counts (Counts 3 through 9), and were unable to

reach a unanimous verdict on any of the remaining charges.

       Defendants contend that the evidence at trial was insufficient to support the charges

against them. Under Fed. R. Crim. P. 29, a defendant is entitled to a judgment of acquittal if the

government’s evidence is “insufficient to sustain a conviction. . . .” Id. The relevant inquiry is

“whether, after viewing the evidence in the light most favorable to the prosecution, any rational
Case 5:09-cr-20414-JCO-MKM ECF No. 181, PageID.1084 Filed 01/25/12 Page 2 of 2




trier of fact could have found the essential elements of the crime beyond a reasonable doubt.”

Jackson v. Virginia, 443 U.S. 307, 319 (1979) (emphasis in original).

       Viewing the evidence in the light most favorable to the government, the court is satisfied

a rational trier of fact could have found the essential elements of the crimes charged beyond a

reasonable doubt, including the essential elements of the count upon which Defendant Gjokaj

was convicted. See Govt. Resp. at 4-5 (Docket No. 149).

       Defendant Gjokaj also argues that he was prejudiced because he was not permitted to

introduce evidence of the complicity of mortgage broker John Veraldi. Given the evidence

against Mr. Gjokaj, including that he allegedly submitted 23 false loan applications, it is not

clear to the court how Veraldi’s alleged involvement in the scheme would serve to exculpate him

or assist his cause. The jury’s verdict against Mr. Gjokaj on Count 2 is not against the weight of

the evidence and a new trial is not warranted. See Fed. R. Crim. P. 33; United States v. Hughes,

505 F.3d 578, 593 (6th Cir. 2007) (“Generally, such motions are granted only ‘in the

extraordinary circumstance where the evidence preponderates heavily against the verdict.’”).

       Accordingly, IT IS HEREBY ORDERED that Defendants’ motions for acquittal are

DENIED.

                                              s/John Corbett O’Meara
                                              United States District Judge
Date: January 25, 2012


        I hereby certify that a copy of the foregoing document was served upon counsel of record
on this date, January 25, 2012, using the ECF system.


                                              s/William Barkholz
                                              Case Manager


                                                -2-
